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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :   CHAPTER 11
                                                :
JOSHUA WILLIAM WADDELL,                         :   CASE NO. 18-53908 - PMB
                                                :
                DEBTOR.                         :


                                  NOTICE OF APPEARANCE

         Comes now Lindsay P. S. Kolba, and gives notice of her appearance on behalf of Daniel

M. McDermott, United States Trustee for Region 21.

                                                    DANIEL M. MCDERMOTT
                                                    UNITED STATES TRUSTEE
                                                    REGION 21

                                                    By:          /s/          .




                                                    Lindsay P. S. Kolba
                                                    Georgia Bar No. 541621
                                                    United States Department of Justice
                                                    Office of the United States Trustee
                                                    362 Richard Russell Building
                                                    75 Ted Turner Drive SW
                                                    Atlanta, Georgia 30303
                                                    (404) 331-4437
                                                    lindsay.p.kolba @usdoj.gov
